                     UNITED STATES DISTRICT COURT
                  WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION
                            3:17-cv-00396-RJC

OFFICIAL COMMITTEE OF ASBESTOS            )
CLAIMANTS,                                )
                                          )
            Appellant,                    )
                                          )
             v.                           )
                                          )
BESTWALL LLC,                             )
                                          )
            Appellee.                     )
_________________________________________ )
                                          )                    ORDER
In re                                     )
                                          )
BESTWALL LLC,                             )
                                          )
            Debtor.                       )
                                          )

      THIS MATTER comes before the Court on the Joint Motion of Appellant and

Appellee to Defer Briefing on Appellant’s Motion for Leave to Appeal. (Doc. No. 4.)

      On August 12, 2019, Appellant Official Committee of Asbestos Claimants

(“Appellant”) filed a Notice of Appeal to this Court from an order of the Bankruptcy

Court. (Doc. No. 1.) That same day, Appellant also filed a Motion for Leave to Appeal,

(Doc. No. 2), and a Request for Certification of Direct Appeal to the Court of Appeals

(“Motion for Direct Appeal”), (Doc. No. 4, Ex. B). On August 15, 2019, the parties

filed the instant Joint Motion of Appellant and Appellee to Defer Briefing on

Appellant’s Motion for Leave to Appeal. (Doc. No. 4.)

      The Bankruptcy Court granted Appellant’s Motion for Direct Appeal on




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September 11, 2019. (Doc. No. 6-2.)

      IT IS THEREFORE ORDERED that:

      1.      The Joint Motion of Appellant and Appellee to Defer Briefing on

              Appellant’s Motion for Leave to Appeal, (Doc. No. 4), is GRANTED; and

      2.      Appellee Bestwall LLC shall submit its response to Appellant’s Motion

              for Leave to Appeal, (Doc. No. 2), fourteen days following the entry of an

              order by the Fourth Circuit denying a petition for appeal.




                         Signed: September 27, 2019




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